                          UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF KANSAS

In re:                                               )
                                                     )
JOHN Q. HAMMONS FALL 2006, LLC, et al.               )       Case No. 16-21142-11
                                                     )       Jointly Administered
                               Debtors.              )


   OBJECTION OF MISSOURI STATE UNIVERSITY AND THE MISSOURI STATE
 UNIVERSITY FOUNDATION TO CONFIRMATION OF THE MODIFIED AMENDED
  JOINT AND CONSOLIDATED CHAPTER 11 PLANS OF REORGANIZATION FOR
          ALL DEBTORS FILED BYCREDITOR JD HOLDINGS, L.L.C.


         COMES NOW Missouri State University (the “University”) and the Missouri State

University Foundation (the “Foundation” and together with the University, “MSU”) and object

to confirmation of the Modified Amended Joint and Consolidated Chapter 11 Plan of

Reorganization for All Debtors Filed by Creditor JD Holdings, L.L.C. (the “Plan”)[Doc. #

1946]. In support of their objection, MSU states as follows:

                                        THE OBJECTIONS

I.       The Plan Does Not Comply with the Applicable Provisions of Title 11 – Section
         1129(a)(1)

         A.    The Plan Discriminates Against Creditors Holding Disputed Claims

         1.    Despite the Plan representation that JD Holdings shall pay all Allowed Claims in

full in Cash, those creditors who hold claims which are allowed after the Effective Date receive

dissimilar and less favorable treatment that those creditors who are paid on the Effective Date.

Such treatment violates section 1123(a)(4) which requires a plan to provide the same treatment

for each claim of a particular class.

         2.    To comply with the mandate of section 112(a)(4), the plan proponent must take

reasonable measures to ensure that the disputed and not yet allowed claims (which have the




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potential to be allowed) receive the same treatment as the allowed claims within that same class.

See e.g., In re Weiss-Wolf, Inc., 59 B.R. 653, 655 (Bankr. S.D.N.Y. 1986)(a debtor must make

provision for payment of disputed claims so that if and when allowed the claims have reasonable

assurance that they will receive identical treatment). Here the Plan fails in two critical respects.

        3.      First, the Plan does not establish and fund a reserve for the payment of disputed

claims that subsequently become allowed claims. Although disputed claims need not be paid

until the claims are fixed, the Plan must make provision for payment of the disputed claims so

that, if and when allowed, the claims have a reasonable assurance that they will receive identical

treatment to the claims paid on the Effective Date. See e.g., In re Weiss-Wolf, Inc., 59 B.R. 653,

655 (Bankr. S.D.N.Y. 1986). See also, In re AMR Corporation, 562 B.R. 20, 26 (Bankr.

S.D.N.Y. 2016); In re Motors Liquidation Co., 447 B.R. 198, 215 (Bankr. S.D.N.Y. 2011).

        4.      In this case, a funded reserve is even more essential for creditors holding disputed

claims because the promise to pay comes from JD Holdings, a party that: (a) owes no fiduciary

duty to the creditors of these estates (and upon whom the Plan imposes no such duty), (b) has no

economic incentive to pay such claims after it has acquired the Debtors’ assets, (c) has

continuously objected to the jurisdiction of this Court,1 and (d) has provided no information,

financial, operational or otherwise, to indicate its ability to pay when a disputed claims is

allowed.2 The holders of disputed claims which are allowed after the Effective Date bear the

risk of non-payment and the cost of collection, neither of which is borne by creditors that are




1 Even in its own Plan, JD Holdings does not concede jurisdiction of this Court. Rather, the Plan simply
states that the Court “would retain any jurisdiction it has…” Plan, Article, XII, p. 31 (emphasis added).
2 At a minimum, the holders of subsequently allowed claims will be subordinate to at least $1 billion of
debt held by Goldman Sachs Mortgage Company, the Sale Lender. See Modified Amended Disclosure
Statement With Respect to Modified Amended Joint and Consolidated Chapter 11 Plans of
Reorganization for All Debtors Filed by Creditor JD Holdings, L.L.C., Appendix 6 [Doc#1788].



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paid on the Effective Date. Accordingly, in the absence of a segregated and funded disputed

claims reserve administered by an independent party, the Plan discriminates against those claim

holders in violation of section 1123(a)(4) of the Bankruptcy Code.

        5.      Second, the Plan prohibits the post-Effective Date accrual or payment of interest,

even as to those disputed claims which are later allowed. See Plan, Article X, Section C. Short

of the Plan requiring JD Holdings to pay interest accrued on the claim pending allowance, those

creditors holding claims to which JD Holdings objects will receive less when their claims are

finally allowed than they would have received had they been paid on the Effective Date.3

        6.      To comply with the mandate of section 1123(a)(4), the distribution to the holders

of disputed claims that later become allowed must be made “as if such Allowed Claims had been

Allowed Claims on the dates distributions were previously made to the holders of Allowed

Claims in the applicable Class.” AMR, 562 B.R. at 26. Only by compensating the holder of a

later allowed claim for the delay in receiving a distribution after the Effective Date (on which all

Allowed Claims are to be paid in full) will the Plan’s treatment satisfy the requirement of section

1123(a)(4).

        7.      Although the creditors in AMR received distribution of shares of stock of the

reorganized debtor rather than cash, Judge Lane’s decision regarding section 1123(a)(4) is

instructive. On the effective date of AMR’s plan, the debtors established a reserve for the

payment of disputed claims that would subsequently become allowed claims. Under the plan,

creditors holding disputed claims that were allowed after the plan’s effective date received

distributions of shares of stock, the number of which had been reduced by the taxes accrued on




3 This discrimination would be avoided if the Plan, as is routine, provided for the establishment and
funding of a segregated interest bearing disputed claims reserve on the Effective Date.



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the disputed claims reserve (between 27.526 and 28.4351 shares for each $1000 of allowed

claims). 562 B.R. at 27. Those creditors moved to require the reorganized debtor to distribute

additional shares so they received the same number of shares that had been distributed to the

holders of claims that were allowed as of the effective date (30.7553 shares for each $1000 of

allowed claims). Id. The debtors, in opposition to the request, argued that the creditors had

already received all of the “value” to which they were entitled as a result of the appreciation of

the stock between the effective date and the date upon which distribution to the creditors was

made. The Court rejected the Debtors’ interpretation of the plan because, in part, it did not

ensure an equitable distribution of value to all unsecured creditors. Id. at 34. Only by

distributing the same number of shares to the effective date allowed claims and the formerly

disputed claimholders did the plan satisfy the principle of equal treatment of claims within a

class. Id. at 34. See also, In re Mesa Air Group, Inc., 2011 WL 320466 at *8 (Bankr. S.D.N.Y.

2011)(a 10% premium above the value of the new common stock issued to U.S. citizen-creditors

on the effective date was necessary to ensure the equal treatment of creditors who were non-U.S.

citizens).

        8.     That the claims of certain creditors are disputed is not justification for

discriminatory treatment. Weiss-Wolf, Inc., 59 B.R. at 655. To avoid discriminatory treatment,

the Plan must require JD Holdings to establish and fund a disputed claims reserve in the full

amount of the disputed claims (with interest accruing for the benefit of the disputed claims) and

provide for payment to those creditors who hold claims that are not paid in full on the Effective

Date interest accruing from the Effective Date through the date on which the claim is allowed.

Only with those protections will the creditors whose claims are targeted by JD Holdings receive

the same treatment as those creditors who are paid on the Effective Date.




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        B.      The Plan Releases Non-Debtor Third Parties

               i.     The Bankruptcy Code Prohibits Third Party Releases

        9.      The presence of the releases contained in Article VIII, Sections E and G of the

Plan renders the Plan non-confirmable as a matter of law. In interpreting the provisions of the

Bankruptcy Code, the Supreme Court has mandated that where, as in the case of sections 524(e)

and 1129(a), a statute's language is clear and unambiguous, “the sole function of the courts is to

enforce it according to its terms.” United States v. Ron Pair Enterprises, 489 U.S. 235, 241

(1989). The very first test for confirmation, found in section 1129(a)(1), requires that a plan

comply with the applicable sections of the Bankruptcy Code. Section 524(e) of the Bankruptcy

Code provides that the “discharge of a debt of the debtor does not affect the liability of any other

entity on, or the property of any other entity for, such debt.” 11 U.S.C. 524(e). Therefore, if a

plan violates section 524(e), then it cannot, as a matter of law, satisfy the confirmation

requirement of section 1129(a)(1).4

        10.     Consistent with the principles enunciated above, the Tenth Circuit Court of

Appeals has ruled that non-debtor releases and permanent injunctions are impermissible as a

matter of law. See, Landsing Diversified Properties-II v. First Nat'l Bank & Trust Co. of Tulsa

(In re Western Real Estate Fund, Inc.), 922 F.2d 592, 601 (10th Cir. 1990)(citation omitted).

                [I]t is the debtor, who has invoked and submitted to the bankruptcy
                process, that is entitled to its protections; Congress did not intend
                to extend such benefits to third-party bystanders… we follow the
                Ninth Circuit’s lead in In re American Hardwoods, Inc. 855 F.2d at
                621 and hold that … the stay may not be extended post
                confirmation in the form of a permanent injunction that effectively
                relieves the nondebtor from its own liability to the creditor
                (citations omitted). Not only does such a permanent injunction
                improperly insulate nondebtors in violation of Section 524(e), it



4 In addition, the inclusion in the Plan of releases which are neither consensual nor supported by
consideration also violate section 1129(a)(3)’s requirement that the plan be proposed in good faith.



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                 does so without any countervailing justification of debtor
                 protection…

In re Western Real Estate Fund Inc., 922 F.3d at 600-02. See also, Resorts Intl v. Lowenschuss

(In re Lowenschuss), 67 F.3d 1394, 1401-2 (9th Cir. 1995) (“This court has repeatedly held,

without exception, that § 524(e) precludes bankruptcy courts from discharging the liabilities of

non-debtors”).

       11.       The 1994 Amendments to the Bankruptcy Code likewise support the Tenth

Circuit’s holding that section 524(e) does not permit bankruptcy courts to release claims against

non-debtors. Following the asbestos cases of the 1980's and early 1990's, Congress took specific

action, by enacting Section 524(g), which provides that in asbestos cases only, if a series of

limited conditions are met, an injunction issued in connection with a reorganization plan may

preclude litigation against third parties. This Congressional action, providing for releases in

specific and limited circumstance, and the requirements and conditions precedent of section

524(g), make it clear that this subsection constitutes a Congressionally-sanctioned narrow

exception to the prohibition contained in section 524(e), specifically designed to apply in

asbestos cases only. “That Congress provided explicit authority to bankruptcy courts to issue

injunctions in favor of the third parties in an extremely limited class of cases reinforces the

conclusion that § 524(e) denies such authority in other, non-asbestos, cases.” In re Lowenschuss,

67 F.3d at 1402, n.6.

       12.       The Plan’s provisions which enjoin action against, and release, non-debtor parties

from the claims of creditors are contrary to the provisions of title 11 and impermissible See In re

Western Real Estate Fund, 922 F.2d at 600-02. The non-consensual exculpations and releases

contained in Article VIII, Sections E and G of the Plan violate Section 524(e) and, as a result, the




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Plan does not satisfy section 1129(a)(1)’s mandate that the plan comply with the applicable

provisions of the Bankruptcy Code.

             ii.   The Releases Do Not Meet the Requirements Imposed Under the
                   “Permissive View”

       13.     Even in the most lenient of jurisdictions outside of the Tenth Circuit, the Plan's

releases would be prohibited as they are not consensual, not supported by consideration and not

essential to confirmation of the Plan. See, e.g ., In re Master Mortgage Investment Fund, Inc.,

168 B.R. 930 (Bankr. W.D. Mo. 1994). After reviewing case law throughout the nation, the

Master Mortgage Court adopted the “permissive view” that a bankruptcy court has the power to

issue a permanent injunction or third party releases. Notwithstanding this conclusion, the Master

Mortgage Court recognized the “knotty problems” created by such third-party releases and

issued the following caution:

       ... a permanent injunction is a rare thing, indeed, and only upon a showing of
       exceptional circumstances in which the factors outlined above [discussed herein
       below] are present will this Court even entertain the possibility of a permanent
       injunction.

Master Mortgage, 168 B.R. at 937.

       14.     The releases in the Plan and the circumstances herein most certainly do not meet

the “exceptional circumstances” threshold. Furthermore, the Master Mortgage “factors” are not

present in these cases. First, there is no identity of interest, such as an indemnity obligation,

between the Debtors and the third parties to be released such that an action against a non-debtor

third party will deplete the assets of the bankruptcy estates. Second, the non-debtor third parties

are not contributing consideration to the reorganization. Nowhere has plan proponent identified

what value each “releasee” will contribute in consideration for the respective release, leaving the

Court to speculate as to what consideration, if any, such party is giving. Third, the release is not

essential to the reorganization. Lastly, the release is not consensual as creditors have not voted



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to accept or reject the Plan. Id. at 935. See also, In re Sun Edison, Case No. 16-10992 (Bankr.

S.D.N.Y. Nov. 8, 2017)(creditors who did not vote on the plan did not consent to the plan

releases); In re Washington Mutual, Inc., 442 B.R. 314 (Bankr. D. Del. 2011)[Doc. # 4253](any

third party release is effective only with respect to those who affirmatively consent to it by

voting in favor of the plan and not opting out of the third party releases). Even if the Tenth

Circuit’s holding in Western Real Estate Fund does not create an absolute bar to releases, the

plan proponent cannot meet the high threshold necessary for approval of non-consensual third

party releases in these cases.

             iii.   The Releases Are So Vague As to Be Unenforceable

       15.      Lastly, the Plan’s release provisions are too broad and vague to be enforceable.

To start, the beneficiaries of the release, listed below, are so numerous, too vaguely described to

be identifiable or are undisclosed to those parties from whom releases are compelled. The

released parties include:

                •   JD Holdings;

                •   Each of JD Holdings’ (undisclosed) Affiliates;

                •   Misters Eilian and Brown, personally;

                •   Any Entity in which Mr. Eilian or Mr. Brown has any equity interest, as well
                    as any trust in which either of them is a grantor, trustee or beneficiary;

                •   Each (undisclosed) predecessor, successor and assign of JD Holdings and of
                    JD Holdings’ Affiliates;

                •   Each current and former shareholder, subsidiary, member (including ex-
                    officio members), officer, director, principal, manager, trustee, employee,
                    partner, attorney, lender, financial advisor, accountant, investment banker,
                    investment advisor, actuary, professional, consultant, agent and representative
                    of JD Holdings, JD Holdings’ (undisclosed) Affiliates, predecessor, successor
                    and assign (but only in his, her, or its capacity as such); and

                •   Goldman Sachs Mortgage Company and undisclosed affiliates, lenders, agents
                    and arrangers providing the Sale Financing Facility.



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See Plan, Article I, Section A(54).

       16.     Second, and similarly stunningly in its overreach, the parties from whom the

releases are involuntarily extracted include not only the current holders of claims or equity

interests, but also former holders of claims, as well as the Affiliates, shareholders, members,

directors, officers, employees, attorneys, financial advisors, accountants, investment bankers, etc.

of the current and former claim holders and of their Affiliates. See Plan, Article VIII, Section G.

       17.     As the final piece of the release, the Plan calls for each of those released parties to

be released from any claim, in relevant part, arising from “(xi) any other act or omission,

transaction, agreement, event, or other occurrence taking place on or before the Effective

Date.” See Plan, Article VIII, Section G (emphasis added).          The Plan as drafted attempts to

release claims which neither arise under title 11 nor arise in or are related to these cases – such as

a cause of action held by an officer of an affiliate of a creditor against a company in which the

principals of JD Holdings have an interest or against a former employee of a predecessor of JD

Holdings, and which cause of action arises out of a transaction which is completely unrelated to

these Debtors, these cases or even JD Holdings.

       18.     The release provisions are so broad that the affected claims and causes of action

haven’t been and can’t be identified. Consideration in exchange for, notice of and consent to the

releases are all absent. Inclusion of these releases is fatal to confirmation of the Plan.

       C.      The Plan Does Not Comply with Sections 363 and 365 of the Bankruptcy
               Code

       19.     Under Article IX of the Plan, JD Holdings shall have until the Effective Date to

identify and have the Debtors assume or reject executory contracts or unexpired leases.

Furthermore, the schedules to the APA which identify the assets to be acquired by JD Holdings

may not be filed until seven days prior to the Confirmation Date. Currently lacking such




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fundamental information, MSU objects to confirmation if and to the extent the Plan provides for:

(a) the assumption or assumption and assignment of any executory contract between the Debtors

and MSU; (b) the sale of any assets of JQH Trust in which MSU may have an interest, unless the

interests of MSU are adequately protected under section 363(e); or (c) the sale, transfer or

assignment of any assets of JQH Trust unless authorized under section 363(f) or 365.

II.    The Plan Is Not Proposed in Good Faith – Section 1129(a)(3)

       19.     Section 1129(a)(3) expressly requires that a plan of reorganization be proposed in

“good faith.” 11 U.S.C. § 1129(a)(3). “Good faith” requires “a reasonable likelihood that the

plan will fairly achieve a result consistent with the standards prescribed under the Code.” See

Hanson v. First Bank of South Dakota, N.A., 828 F.2d 1310, 1315 (8th Cir. 1987), declined to

follow on other grounds by Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd. P’ship, 507 U.S

380 (1993); In re Madison Hotel Assocs., 749 F.2d 410, 425 (7th Cir. 1984); see also In re

Union Fin. Servs. Group, Inc., 303 B.R. 390, 423 (Bankr. E.D. Mo. 2003)(“The focus under

Section 1129(a)(3) is on whether the proposal of a plan is consistent with the objectives of the

Bankruptcy Code”). Good faith requires a fundamental fairness in dealing with one’s creditors.

In re Jorgensen, 66 B.R. 104, 109 (B.A.P. 9th Cir. 1986)

       20.     Here, as a matter of law and fact, the terms of the Plan compel the conclusion that

JD Holdings has neither provided fundamental fairness to certain of the Debtors’ creditors and

interest holders nor proceeded with honesty and intentions which are consistent with the

objectives of, and required in order to access the extraordinary protections of, the Bankruptcy

Code. As detailed herein, the Plan is the vehicle through which JD Holdings is to acquire all of

the Debtors assets to the prejudice of the holders of claims yet to be disputed and interests.

Under the mantra of a full payment plan, protections of the Code are being ignored.




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       21.     The Debtors are charged with the duty of maximizing the value of the estate for

the benefit of their creditors. See, e.g., In re Enron Corp., 279 B.R. 695, 703 (Bankr. S.D.N.Y.

2002)("The Debtors are mindful of their fiduciary duty to maximize the value of the assets of the

estate..."). In this case, however, the Debtors’ efforts to maximize the value of their assets

through a sale or plan have been stymied by the plan proponent’s continuing challenge to this

Court’s jurisdiction. Rather than having a robust auction, the Debtors’ assets are to be sold to JD

Holdings for a price that is not now, and may never be, known except to the purchaser. There is

no valuation of the assets. There is no auction or competitive bidding. There is no “market test.”

Instead, the Plan offers no means by which the Plan’s promise to pay an undisclosed amount to

creditors, albeit in “full,” and contribute assets to a new charitable trust can be tested for

compliance with this primary tenant of bankruptcy – the maximization of asset values. In the

absence of a set minimum purchase price and appraisal testimony or a market test, whether the

estates have maximized the value of their assets and whether JD Holdings is paying fair

consideration for the purchased assets is unknown.

       22.     JD Holdings’ “ulterior motive” to acquire the Debtors assets for less than fair

value, a claim to which it asserts entitlement under the right of first refusal, is further evidenced

by a combination of less obvious provisions of the Plan which undercut the promise of full

payment to creditors. First, the Plan provides that JD Holdings obtains the exclusive right to

object to claims and is not required to do so until the Effective Date. Accordingly, those

creditors who hold allowed claims as of the Confirmation Date are not assured of receiving the

promised 100% dividend on the Effective Date. Second, the Plan fails to establish an interest

bearing disputed claims reserve, under the control of an independent party, from which the

holders of subsequently allowed claims will be paid. As discussed hereinabove, creditors with




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post-Effective Date allowed claims will be faced with the potential and substantial cost of

extracting payments from JD Holdings or, worse, the risk that JD Holdings, having pledged its

assets to secure at least $1 Billion in loans, can’t make such payments. Lastly, it is far from clear

that the broad release by creditors in favor of JD Holdings under Article VIII, Section G does not

impair or enjoin creditor action resulting from JD Holdings’ objection or refusal to pay allowed

claims.

          23.    Nothing in the Plan precludes JD Holdings, which is not assuming a fiduciary

duty to creditors under the Plan, from objecting to claims for the purpose of using litigation to

delay, or as leverage to negotiate a reduction in, the payments that would otherwise be due and

payable on the Effective Date. To the contrary, the absence of a funded reserve and the refusal

to pay post-Effective Date interest incentivizes the use of litigation to reduce or defer payment of

JD Holdings’ purchase price for the Debtors’ assets. The decision by JD Holdings to refuse to

establish a disputed claims reserve, a common fixture in a Chapter 11 case, speaks more loudly

of its true intentions than the potentially illusory promise to pay allowed claims in full.

III.      The Plan Does Not Disclose the Identity and Affiliations of JD Holdings – Section
          1129(a)(5)

          24.    JD Holdings, by retaining the consideration for the purchase of the Debtors’

assets, by choosing to pay creditors directly, and by controlling the claim objection process,

thereby determining which creditors get paid and when, is the successor to these Debtors. As the

Debtors’ successor under the Plan, section 1129(a)(5) requires that JD Holdings disclose the

identity and affiliations of any individual proposed to serve as its director or officer. However,

the Plan is silent. Furthermore, the Plan fails to disclose the identity of the trustee(s) under the

New Charitable Trust. Accordingly, for each reason the Plan violates section 1129(a)(5).




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IV.    The Plan is Not Feasible – Section 1129(a)(11)

       25.     JD Holdings has proposed a plan that provides it with great flexibility. For

example, the Plan (a) doesn’t expose the Debtors’ assets to the market, (b) doesn’t require a firm

purchase price for the Debtors’ assets, (c) permits JD Holdings to retain the sale proceeds, and

(d) permits JD Holdings to defer payments to creditors through the potential artifice of claim

objections. But such flexibility must come at a price. By refusing to establish and fund a

disputed claims reserve, the plan proponent makes relevant the financial condition of JD

Holdings and its ability to make post-Effective Date payments to the holders of allowed claims.

However, the Disclosure Statement and Plan provide no information regarding JD Holdings’

operations or other financial information from which the Court can evaluate JD Holdings ability

to make all post-Effective Date payments, including those due on subsequently allowed claims.

In the absence of such detailed financial information, the feasibility of JD Holdings’ promise to

pay all allowed claims in full cannot be evaluated or established.

       26.     Under the Purchase and Sale Agreement, the purchaser may choose, in its sole

discretion, to “not purchase all or any portion of the Property…” Purchase and Sale Agreement,

Section 1.1, p.5. In that event, the “Excluded Property” is to either (a) remain with the Seller or

(b) be conveyed to the new Charitable Trust, if directed by the Seller. Id. As a result of this

provision, Excluded Property, which may include operating assets such as an office buildings or

ball park, may remain, post-confirmation, under the ownership of a Debtor, such as the JQH

Trust. However, the Plan does not provide for the post-Effective Date continuation, management

or operation of any such Debtor or the retention on any leases and contracts with such Debtor.

Neither does the Plan provide for the liquidation of any Excluded Assets. As such, the Plan is

incomplete and violates section 1129(a)(11).




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       27.     The New Charitable Trust Agreement is not attached to the Plan or Disclosure

Statement. The brief discussion of the terms of the New Charitable Trust Agreement – to wit,

that JD Holdings will inform the Debtors of the assets to be contributed, that Dowdy and Groves

will not be trustees of the New Trust, but that they will designate the charitable organizations to

which the Trust assets are to be distributed – is inadequate to establish feasibility. Here again,

the incompleteness of the Plan violates section 1129(a)(11).

       WHEREFORE, Missouri State University and the Missouri State University Foundation

pray for the entry of an order denying confirmation of the Modified Amended Joint and

Consolidated Chapter 11 Plans of Reorganization for All Debtors filed by Creditor JD Holdings,

L.L.C. and for such other relief as is just and proper.

                                              Respectfully submitted,

                                              ARMSTRONG TEASDALE LLP

                                              By:     s/ Christine L. Schlomann____________
                                                      Christine L. Schlomann, KS # 18712
                                                      John McClelland, KS Fed. 70724
                                                      2345 Grand Blvd., Suite 1500
                                                      Kansas City, MO 64108
                                                      (816) 472-3153 Fax: (816) 221-0786
                                                      jmcclelland@armstrongteasdale.com
                                                      cschlomann@armstrongteasdale.com

                                                      and

                                                      David L. Going MO #33435
                                                      7700 Forsyth Blvd., Suite 1800
                                                      St. Louis, Missouri 63105
                                                      (314) 621-5070 Fax: (314)621-5065
                                                      dgoing@armstrongteasdale.com

                                              COUNSEL FOR MISSOURI STATE
                                              UNIVERSITY AND THE MISSOURI STATE
                                              UNIVERSITY FOUNDATION




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                               CERTIFICATE OF SERVICE

         The undersigned certifies that a copy of the Objection Of Missouri State University and
The Missouri State University Foundation to the Adequacy of the Amended Disclosure Statement
with Respect to Amended Joint and Consolidated Chapter 11 Plan of Reorganization for All
Debtors Filed by Creditor JD Holdings was served electronically on those parties having entered
their appearance in the Court’s Electronic Court Filing (ECF) System and conventionally, via
first-class mail, postage prepaid, to those parties who have requested notice but are not
participating in the ECF System, pursuant to instructions appearing on the Electronic Filing
Receipt received from the U. S. Bankruptcy Court on this 13th day of April, 2018.


                                                           s/ Christine L. Schlomann




                                                   /s/ David L. Going




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